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 Bourque CPAs & Advisors v. The Peoples Republic of China (8:20-cv-00597,E District Court, C D.~ Itfo;rnia'
 Judge R. Gary Klausner -Federal Court - 255 East Temple Street -Los Angeles, CA 90012
 Movant David Andrew Christenson
 July 10th,2020

  Motion for Leave to File Amicus—The Judges have started to dismiss the Class Action Complaints against
                            the People's Republic of China for lack of Prosecution

 Think about what has been done. By upholding the Constitution, the Narrative has been changed.

 This is a cataclysmic event.

                                                                                               11tH
 Americans owe a debt of gratitude to Judge Ursula Ungaro and Judge Ed Kinkeade as well as the
 Circuit Court of Appeals (Chief Judge William Pryor Jr. and Clerk of Court David Smith).

 Judge Ungaro docketed everything that I sent. Judge Kinkeade shut down Ring Leader Attorney Larry
 Klayman and continued to docket my pleadings. The 14 Class Action Complaints were to become One
 Class Action Complaint but now that is not going to happen. Was the Complaint going to be political?
 Yes. We rightfully changed the 2020 Presidential Election.

 There are 14 of the cases listed below. Most have zero prosecution.

 Judge David Carter -Cardiff Prestige Property, Inc. v. Peoples Republic of China (8:20-cv-00683)
 District Court, C.D. California —started the process. Yesterday, July 9th 2020, there was to have been a
 response but as of today that response has not been filed. The case was terminated July 15t 2020.

                                        Filed in the following cases:

     1. United States v. Boucher (1:18-cr-00004) District Court, W.D. Kentucky Judge Marianne O.
        Battani Federal Court - 231 W. Lafayette Blvd., Room 252 -Detroit, MI 48226
     2. United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Judge E. Sullivan
        Federal Court - 333 Constitution Ave. N.W. -Washington D.C. 20001
     3. United States v. Stone (1:19-cr-00018) District Court, District of Columbia Judge A. Jackson
        Federal Court - 333 Constitution Ave. N.W. -Washington D.C. 20001
     4. Greco v. Peoples Republic of China (5:20-cv-02235) District Court, E.D. Pennsylvania Judge Anita
        Blumstein Brody Federal Court - 601 Market Street -Philadelphia, PA 19106
     5. Patella v. Peoples Republic of China (1:20-cv-00433-TDS-JEP) District Court, M.D. North Carolina
        Judge Thomas D. Schroeder Federal Court - 251 N. Main Street -Winston-Salem, NC 27101
     6. Benitez-White v. Peoples Republic of China (4:20-cv-01562) District Court, S.D. Texas Judge
        Ewing Werlein Jr. Federal Court - 515 Rusk Street -Houston, TX 77002
     7. State of Mississippi v. People's Republic of China (1:20-cv-00168-LG-RHW) District Court, S.D.
        Mississippi Judge Louis Guirola Jr. Federal Court - 2012 15th Street -Suite 814 -Gulfport, MS
        39501
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    8. Azelea Woods of Ouachita v. Peoples Republic of China (3:20-cv-00457-TAD-KLH) District Court,
       W.D. Louisiana Judge Terry Alvin Doughty Federal Court - 201 Jackson Street -Suite 215 -
       Monroe, Louisiana 71201
    9. Edwards v. Peoples Republic of China (2:20-cv-01393) District Court, E.D. Louisiana Hon N. V.
        Jolivette Brown Federal Court - 500 Poydras Street -New Orleans, LA 70130
    10. State of Missouri v. Peoples Republic of China (1:20-cv-00099) District Court, E.D. Missouri Judge
        Stephen Limbaugh -Federal Court - 555 Independence Street -Cape Girardeau, MO 63703
    11. Alters v. Peoples Republic of China (1:20-cv-21108) District Court, S.D. Florida Judge Ursula
        Ungaro Federal Court - 400 North Miami Avenue -Room 12-4 -Miami, Florida 33128
    12. Bella Vista LLC v. The Peoples Republic of China (2:20-cv-00574) District Court, D. Nevada Judge
        James C. Mahan -Federal Court - 333 S. Las Vegas Blvd -Las Vegas, NV 89101
    13. Buzz Photo v. Peoples Republic of China (3:20-cv-00656) District Court, N.D. Texas Judge Ed
        Kinkeade Federal Court - 1100 Commerce St. -Room 1625 -Dallas, Texas 75242
    14. Cardiff Prestige Property, Inc. v. Peoples Republic of China (8:20-cv-00683) District Court, C.D.
        California Judge David O. Carter -Federal Court - 411 West Fourth St. -Courtroom 9D -Santa
         Ana, CA,92701
     15. Bourque CPAs &Advisors v. The Peoples Republic of China (8:20-cv-00597) District Court, C.D.
         California Judge R. Gary Klausner -Federal Court - 255 East Temple Street -Los Angeles, CA
         90012
     16. Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, S.D. Florida Judge Roy K.
         Altman Federal Court - 299 East Broward Blvd. -Fort Lauderdale, FI. 33301
     17. Smith v. Chinese Communist Party (2:20-cv-01958) District Court, E.D. Pennsylvania Judge Anita
         B. Brody Federal Court - 601 Market Street -Philadelphia, PA 19106
     18. United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Judge John Gleeson
         Debevoise &Plimpton LLP - 919 Third Avenue -New York, New York 10022
     19. United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Attorney Beth
         Wilkinson - 2001 M Street N.W. - 10th Floor -Washington, D.C. 20036
     20. United States v. Manning (1:19-dm-00012) District Court, E.D. Virginia Judge Anthony John
         Trenga Federal Court - 401 Courthouse Square -Alexandria, VA 22314
     21. United States v. Snowden (1:19-cv-01197) District Court, E.D. Virginia Judge Liam O'Grady
         Federal Count - 401 Courthouse Square -Alexandria, VA 22314
     22. United States v. Snowden (1:13-cr-265)) District Court, E.D. Virginia Senior Judge Claude M.
         Hilton Federal Court - 401 Courthouse Square -Alexandria, VA 22314
     23. United States v. Winner (1:17-cr-00034) District Court, S.D. Georgia Judge James Randal Hall
         Federal Court - 600 James Brown Blvd. -Augusta, GA 30901
     24. United States v. Assange (1:18-cr-00111) District Court, E.D. Virginia Senior Judge Claude M.
         Hilton Federal Court - 401 Courthouse Square -Alexandria, VA 22314
     25. In re: Michael Flynn (20-5143) Court of Appeals for the D.C. Circuit Clerk Mark Langer U. S.
         Appeals Court D.C. - 333 Constitution Ave. N.W. -Washington D.C. 20001
     26. In re: Reality Winner (20-11692) Court of Appeals for the 11`h Circuit Clerk David Smith Appeals
         Court 11th Circuit - 56 Forsyth St., N.W. -Atlanta, Georgia 30303
     27. Center for Democracy &Technology v. Trump (1:20-cv-01456) District Court, District of
         Columbia Judge Trevor Neil McFadden -Federal Court - 333 Constitution Ave. N.W. -
         Washington D.C. 20001
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     28. McCarthy v. Pelosi (1:20-cv-01395-RC) District Court, District of Columbia Judge Rudolph
         Contreras -Federal Court - 333 Constitution Ave. N.W. -Washington D.C. 20001
     29. Judicial Watch, Inc. v. Department of State (1:14-cv-01242-RCL) District Court, District of
         Columbia Judge Royce C. Lamberth - 333 Constitution Ave. N.W.-Washington D.C. 20001
     30. United States v. Bolton (1:20-cv-01580-RCL) District Court, District of Columbia Judge Royce C.
          Lamberth - 333 Constitution Ave. N.W. -Washington D.C. 20001

  Godspeed

  Sincerely



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  d christenson6@hotmail.com;

                                          CERTIFICATE OF SERVICE

              hereby certify that on July 10th 0   file     e foregoing with the Clerk of Court and
                  served the pleading o all               ecord by e-mail and first-class mail.



                                          David Andrew Christenson
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David Andrew Christenson-;                                                                                                                       ~°'~V ~ Jam `                                - - `
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